
| í JONES, J.,
dissents with reasons.
I respectfully dissent from the majority opinion with respect to the first assignment of error raised by Stewart. The district court deprived Stewart of his right to confrontation under the federal and state constitutions when he was denied the opportunity to cross-examine Officer Hart*354man, the officer who conducted the search of the vehicle leading to the discovery of contraband which was the basis of his arrest. The district court was erroneous in accepting the testimony of Officer Sedge-beer as sufficient in convicting Stewart, as Officer Sedgebeer admitted that he was dealing with his subject when the search was taking place. In light of this violation of Stewart’s constitutional rights, I would reverse his conviction.
